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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    UNITED STATES OF AMERICA

                      v.                                  No. 19 CR 669

    GREGG SMITH,                                     Judge Edmond E. Chang
    MICHAEL NOWAK, and
    JEFFREY RUFFO,

                 Defendants.

      UNITED STATES’ STATEMENT REGARDING GX 84 THROUGH 116

        Pursuant to the Court’s order during the June 2, 2022 pretrial conference, the

United States hereby identifies the following subset of Government Exhibits (“GX”)

84 through 116 that it intends to introduce in its case-in-chief:

           •   GX 84 1 (has corresponding trading episode)
           •   GX 86 (has corresponding trading episode)
           •   GX 87 (has corresponding trading episode)
           •   GX 89 (has corresponding trading episode)
           •   GX 95
           •   GX 96 (has corresponding trading episode)
           •   GX 101
           •   GX 103 (has corresponding trading episode)
           •   GX 105 (has corresponding trading episode)
           •   GX 107 (has corresponding trading episode)
           •   GX 109 (has corresponding trading episode)
           •   GX 112 (has corresponding trading episode)
           •   GX 115 (has corresponding trading episode)




1This list does not include .xml versions of time zone information for the Bloomberg
chat of the same date, such as GX 85, 88, 90, 97, 104, 106, 108, 110, 113.
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Dated: June 13, 2022                Respectfully submitted,

                                    /s/ Lucy B. Jennings
                                    Avi Perry
                                    Matthew F. Sullivan
                                    Lucy B. Jennings
                                    Christopher Fenton
                                    U.S. Department of Justice
                                    Criminal Division, Fraud Section
                                    1400 New York Ave. NW
                                    Washington, DC 20530
                                    (202) 305-9708




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                           CERTIFICATE OF SERVICE

      I, Lucy B. Jennings, hereby certify that on June 13, 2022, I caused the

foregoing United States’ Statement Regarding GX 84 through 116 to be electronically

filed with the Clerk of Court by using the Court’s electronic filing system, which will

automatically send a notice of electronic filing to the parties who have entered an

appearance in this case.



                                                      /s/ Lucy B. Jennings
                                                     Lucy B. Jennings




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